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U.S DISTRICT
S. T COURT
DISTRICT OF WYOMING

FEB 20 2004

Betty A. Griess, Clerk
heyenne
Bradley T. Cave, P.C.

Laura D. Windsor
HOLLAND & HART LLP

Post Office Box 1347
Cheyenne, Wyoming 82003
(303) 778-4200

ATTORNEYS FOR PLAINTIFFS

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

H&R BLOCK TAX SERVICES and HRB Oy
ROYALTY, INC., 0 4 C \V G U b 3 _Y
Plaintiff, -

Civil Action No. 03-CV-___
v.

DANNY GRIFF and PRO TAX SERVICES

 

Defendant.

COMPLAINT

Plaintiffs H&R Block Tax Services (“Tax Services”) and HRB Royalty, Inc.
(“HRB Royalty”) (collectively, “H&R Block”) state the following for their Complaint

against defendant Danny Griff (“Griff”):

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JURISDICTION AND VENUE
1. Tax Services is a Missouri corporation having its principal place of
business in the state of Missouri. HRB Royalty is a Delaware corporation having its

principal place of business in Nassau, Bahamas.

2, Based on information and belief, Griff is a citizen and resident of
Wyoming.
3. On information and belief, Pro Tax Services is a Wyoming corporation

that operates a storefront in Evanston.
4, H&R Block seeks the following remedies against Griff:
a. Preliminary and permanent injunctive relief requiring that Griff
and persons in active concert or participation with him:

(i) cease and refrain from the operation of any tax return
preparation business in competition with H&R Block or its authorized, legitimate
franchisees in or within 100 miles of Evanston, Wyoming, Wyoming for a two-year
period;

(il) deliver to H&R Block and refrain from using any originals
or copies, whether stored by hard copy or electronically, of H&R Block proprietary
information, which specifically includes any customer lists, customer tax files, H&R
Block tax preparation software, H&R Block training software, H&R Block training
materials, and H&R Block business-tracking software (collectively, “Proprietary

Information”);
(ii) assign all Yellow and White Page telephone numbers for
H&R BLOCK tax services for Evanston, Wyoming to H&R Block; and

{iv) identify by name, address and telephone number all
persons and entities that may have received copies of any Proprietary Information, and
provide such persons with a copy of the Court’s order of injunction, directing them to
deliver to H&R Block the Proprietary Information pursuant to the Court’s order and
refrain from further use or dissemination of the Proprietary Information;

b. Damages in an amount to be proved at trial for the Griff’s
trademark infringement, false advertising, breach of contract, conversion, unjust
enrichment, tortuous interference with business advantage, unfair competition, and
violation of the Wyoming Consumer Protection Act; and

c. Reasonable attorneys’ fees and costs.

5. The amount in controversy in this matter exceeds $75,000, exclusive of
interest and costs.

6. Complete diversity of citizenship exists among defendants and Griff.

7. This Court has subject matter jurisdiction under 15 U.S.C. § 1051, ef
seqg., and 28 U.S.C. §§ 1331, 1332, 1338, and 1367.

8. Venue is proper under 28 U.S.C. § 1391(b)(1), as Griff resides in this
district, and (b)(2), as the events giving rise to H&R Block’s claims occurred in and

continue to occur in this district.
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GENERAL ALLEGATIONS
9. H&R Block is a franchisor of H&R BLOCK franchises for tax
preparation services.
10. H&R Block owns numerous United States registrations for the H&R

BLOCK trademark, including the following:

 

 

 

 

 

 

Reg. No. Mark Registration Date
773,839 H&R Block July 21, 1964
1,270,198 H&R Block March 12, 1984
2,533,014 H&R Block January 22, 2002
1,502,530 Rapid Refund H&R Block | August 30, 1988

 

 

 

11. H&R Block spends millions of dollars each year marketing and
promoting its goods and services under the H&R BLOCK trademark. Due to extensive,
long-standing, and continuous use, the H&R BLOCK trademark has acquired secondary
meaning insofar as it enjoys wide recognition among the public.

12. Years ago, H&R Block, Inc. entered into several major franchise
agreements with Monte C. Nelson and Block Mountain West, Inc. (“Nelson/BMWI”),
who are not parties to this case. The major franchise agreements granted franchises to
Nelson/BMWI for the operation of H&R BLOCK tax preparation businesses in
particular geographic areas. One of the major franchise agreements covered Evanston,

Wyoming.

 
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13. H&R Block, Inc. assigned the major franchise agreements with
Nelson/BMWI to plaintiff HRB Royalty.

14. The major franchise agreements authorized Nelson/BMWI to use H&R
BLOCK tax preparation materials, training materials, trademarks, trade names, and
other proprietary information provided by HRB Royalty, as assignee of H&R Block,
Inc., or its affiliates.

15. HRB Royalty or its affiliates annually expended funds to purchase
advertising in the state of Wyoming for the benefit of Nelson/BMWI and their
subfranchises.

16. As franchisees of HRB Royalty, Nelson/BMWI sold H&R BLOCK
subfranchises in the state of Wyoming.

17. Defendant Griff was a subfranchisee of Nelson/BMWI.

18. Attached to the Complaint as Exhibit 1 is an agreement between
Nelson/BMWI, as franchisor, and Griff, as franchisee, granting Griff a subfranchisee
for Evanston, Wyoming (‘“Subfranchise Agreement”).

19. Nelson/BMWI, HRB Royalty, Tax Services, certain of their affiliates, and
others are parties to an action pending in the Circuit Court of Jackson County, Missouri
styled Wm. R. Smith, et al. v. H&R Block, Inc., et al., Case No. 99-CV-206379 (the

“Missouri Action”).
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20. By order of the Circuit Court of Jackson County, Missouri, the major
franchise agreement for Evanston, Wyoming between HRB Royalty as franchisor and
BMW/I as franchisee expired on September 20, 2003,

21. Simultaneously, the Subfranchise Agreement granted by Nelson/BMWI
as franchisor to Griff as franchisee for Evanston, Wyoming expired.

22. In paragraph 7 of the Evanston Subfranchise Agreement, Griff agreed not
to compete with Nelson (and thus H&R Block) within 100 miles of the “franchise
territory” in and around Evanston for a period of two years after termination of the
Subfranchise Agreement. Exhibit 1 at 7-8, | 7(b). Griff also agreed that for two years
following the termination of the Subfranchise Agreement he would not use any H&R
Block Proprietary Information, including “any information or knowledge concerning
customers, the methods, promotion [sic], advertising or any other systems or methods of
operation of [Nelson’s] business or that of [Nelson’s] franchises which [Defendant]
may have acquired by virtue of his operations under this agreement.” /d. at 8, J 7(d).
Finally, Griff also agreed not to undertake any “deliberate act prejudicial or injurious to
the good will or name of Franchisor.” /d, at 8, § 7(c).

23. To underscore the importance of these covenants, Griff also agreed that:

This Agreement is entered into between the parties hereto
with the full knowledge of its nature and extent, and [Griff]
hereby acknowledges that the qualifications for a franchise
from Franchisor are special, unique and extraordinary, and

that this Agreement would not be entered into by Franchisor
except upon condition that such restrictive covenants be
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embodied herein, and as such be enforceable by injunctive
relief in the event of breach by [Griff].

Id. at 9, § 7(g).

24. In addition, in paragraph 11 of the Subfranchise Agreement, Griff agreed
to indemnify Nelson/BMWI for any alleged breach of the covenants of non-competition
and non-disclosure that were binding upon Nelson/BMWI under his agreements with
H&R Block. /d. at 11-12, 4 11(b). The covenants binding against Nelson/BMWI and in
favor of H&R Block are expressly set forth in Schedule C to the Subfranchise
Agreement, meaning Griff was fully aware of the benefits in H&R Block’s favor.
Those covenants, as summarized in Schedule C, state the following:

(1) During the term hereof Licensee [Nelson/BMWI] will
not compete, directly or indirectly, whether as an owner,
stockholder, partner, officer, director or employee, with
Block or Block’s franchisees, or Block Mountain West, Inc.
or M&V Nelson, Inc. in the business of preparing tax returns
or performing related services, and

(2) For a period of three years after the termination, or the
transfer or other disposition of this franchise,
[Nelson/BMWI] will not so compete as aforesaid within 100
miles of the licensed territory. Licensee [Nelson/BMWI]
further covenants that during the term of this Agreement and
for a term of three years after the termination or the transfer
or other disposition of this license, he will not divulge to or
use for the benefit of any person, association or corporation
outside of the H&R Block organization, any information or
knowledge concerning customers, the methods, promotion,
advertising or any other systems or methods of Block’s
business or that of Block’s franchisees which Licensee may
have acquired by virtue of his operations under this
Agreement... ..

Id, at Ex. C.
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25. On September 17, 2003, Nelson/BMWI executed a Bill of Sale (Customer
Lists, etc.), attached as Exhibit 2, which assigned to Tax Services “all customer lists,
customer names, forms, files and copies of tax returns in the custody of [Nelson/BMWI}
or obtained in operating its business as a tax preparer under any and all of the Major
Franchise Agreements between [Nelson/BMWI] and HRB Royalty, Inc. or any affiliate
thereof, free and clear of all liens, mortgages, claims and encumbrances.”

26. On September 17, 2003, Nelson/BMWI executed a Bill of Sale,
Assignment and Conveyance, attached as Exhibit 3, which transferred and delivered to
Tax Services “all of the assets, properties, interests and rights of [Nelson/BMWI] which
are specifically set forth on Schedule A attached hereto.” Schedule A attached to the
Bill of Sale, Assignment and Conveyance lists the following assets, all transferred from
Nelson/BMWI to Tax Services:

2. All general, financial and personnel records, ledgers,
sales invoices, accounts and payable records, files, forms,
books, documents, correspondence, client tax returns,
customer lists, employee lists (including addresses), sales
records, FranTap data, TTS mailing lists and other files and
records, including electronic versions of any of the
foregoing, of Seller pertaining primarily or exclusively to
Seller’s operation of the business.

3. All tangible property used by Seller primarily or
exclusively with respect to Seller’s operation of the
Business, including but not limited to all supplies,
equipment, inventory and office keys.

4. All intellectual property used by Seller primarily or
exclusively with respect to Seller’s operation of the
Business.
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6. All rights Seller has to obtain all client files, client lists
and other client data related to the operations of Seller’s
subfranchises, to the extent Seller has rights in such data.

27. On September 17, 2003, Nelson/BMWI executed an Assignment of
Satellite Franchise Agreement, which transferred and assigned the Subfranchise
Agreement to H&R Block. Exhibit 4.

28. Griff enjoyed all privileges and benefits of the Subfranchise Agreement
until the Subfranchise Agreement and the major franchise agreement on which the
Subfranchise Agreement was based expired on September 20, 2003.

29. On December 4, 2003, H&R Block sent Griff a letter, a copy of which is
attached as Exhibit 5. The letter states, infer alia,

[H&R Block has] the right to enforce the post-termination
rights of Nelsen with respect to the customer files and
demand that you immediately deliver to us the customer lists
and customer tax returns of your former H&R Block
business. We will maintain the confidentiality of such files,
which will be used solely to provide tax-related services to
the H&R Block customers to whom the files relate. We also
demand that you comply with such other post-termination
obligations of your subfranchise agreements with respect to
competing with the Franchisor under such agreements.

30. Griff has continued his tax preparation businesses under the name Pro
Tax Services in Evanston, using the same location, telephone numbers, computers,
customer files, customer lists, and customers’ previous year’s tax returns that were used

until September 20, 2003 in his H&R BLOCK business. Griff is competing and plans to
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continue to compete in Evanston with H&R Block’s licensed, legitimate franchisee for
that location,

31, To that end, Griff and Pro Tax Services have run advertisements that lead
consumers to believe that the new business is authorized to perform H&R Block tax
preparation services, and that H&R Block has undergone a name change. The
advertisements contain the following misleading and untrue statements:

e Pro Tax Services was “Previously operated as H&R Block”

e Under the heading “We have made only one change to our business:
Our Name”, stating:

=» “Same Staff”
« “Same Address”
» “Same Services”

e “We have all of your past tax files”

« “AI the fine services we have been able to provide in the past will
remain the same in the future! (Individual Business, Electronic Filing
and Quick Refund)” (emphasis added)

e “We will have the same staff and preparers that we have had in the
past with over 59 years of combined tax experience.”

e “Our location... and telephone numbers... remain the same.”!

 

These advertisements are for Pro Tax Services’ Kemmerer, Wyoming office,

which previously was operated as H&R Block but is the subject of a separate dispute.

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32. Griff has violated the Subfranchise Agreement by failing to deliver the
Proprietary Information to H&R Block.

33. Griff has further violated the Evanston Subfranchise Agreement by
competing with H&R Block within 100 miles of Evanston and within two years of
termination of the Subfranchise Agreement and H&R Block’s major franchise
agreement with Nelson/BMWI.

34. Customers in Evanston received tax preparation services from Griff’s
H&R BLOCK franchise. Their tax returns include the H&R BLOCK name and mark,
and were in fact prepared by H&R Block. Those customers reasonably expect that
H&R Block will maintain the confidentiality and privacy of their customer files, tax
returns, and confidential information, and will not allow others outside of H&R Block
access to such information.

35. On information and belief, Griff continues to use without permission the
H&R Block’s marks in formal advertising and otherwise to identify and promote his tax

preparation services.

(..continued)
On information and belief, Griff has used the same advertisements to advertise for his
tax preparations businesses operating under the name Pro Tax Services in Evanston.

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COUNT I — TRADEMARK INFRINGEMENT

UNDER § 32 OF THE LANHAM ACT
(AGAINST GRIFF AND PRO TAX SERVICES)

36. H&R Block incorporates in full the preceding paragraphs.

37. H&R Block owns numerous valid and incontestable registrations issued
by the PTO for H&R BLOCK.

38. Griff and Pro Tax Services have used, and are using, H&R Block’s
protected trademarks in commerce without the consent of H&R Block.

39, The actions of Griff and Pro Tax Services as described above, and
specifically their unauthorized use of the H&R BLOCK mark to identify and promote
tax preparation services, is likely to cause confusion, cause mistake, or deceive as to the
affiliation, connection, or association of Griff and Pro Tax Services with H&R Block,
or as to the origin, sponsorship, or approval of Griff’s and Pro Tax Service’s services
by H&R Block. The conduct of Griff and Pro Tax Services constitutes trademark
infringement in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

40. The trademark infringement by Griff and Pro Tax Services has caused
and continues to cause irreparable injury to the value and goodwill of H&R Block’s
trademarks, as well as irreparable injury to H&R Block’s business, goodwill, and
reputation. H&R Block has no adequate remedy at law for this injury.

41. The continued use of the H&R BLOCK trademarks by Griff and Pro Tax
Services is deliberate, willful, fraudulent, and constitutes a knowing infringement of

H&R Block’s trademarks. H&R Block is entitled to disgorgement of Griff’s and Pro

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Tax Service’s profits, as well as attorneys’ fees and costs incurred in this action, along

with prejudgment interest.

Count II — UNFAIR COMPETITION/TRADEMARK INFRINGEMENT

UNDER § 43 OF THE LANHAM ACT
(AGAINST GRIFF AND PRO TAX SERVICES)

42. H&R Block incorporates in full the preceding paragraphs.

43. H&R Block possesses numerous valid and protectable trademarks.

44. The actions of Griff and Pro Tax Services as described above, and
specifically their unauthorized use of the H&R BLOCK mark to identify and promote
tax preparation services, is likely to cause confusion, cause mistake, or deceive as to the
affiliation, connection, or association of Griff and Pro Tax Services with H&R Block,
or as to the origin, sponsorship, or approval of Griff’s and Pro Tax Service's services
by H&R Block. The conduct of Griff and Pro Tax Services constitutes unfair
competition and trademark infringement in violation of Section 43 of the Lanham Act,
15 U.S.C. § 1125(a).

45.  Griff’s and Pro Tax Service’s trademark infringement has caused and
continues to cause irreparable injury to the value and goodwill of H&R Block’s
trademarks, as well as irreparable injury to H&R Block’s business, goodwill, and
reputation. H&R Block has no adequate remedy at law for this injury.

46.  Griff's and Pro Tax Service’s continued use of the H&R BLOCK
trademarks is deliberate, willful, fraudulent, and constitutes a knowing infringement of

H&R Block’s trademarks. H&R Block is entitled to disgorgement of Griff’s and Pro

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Tax Service’s profits, as well as attorneys’ fees and costs incurred in this action, along

with prejudgment interest.

COUNT III — FALSE ADVERTISING

UNDER § 43 OF THE LANHAM ACT
(AGAINST GRIFF AND PRO TAX SERVICES)

47. H&R Block incorporates in full the preceding paragraphs.

48. The actions of Griff and Pro Tax Services as described above, and
specifically Griff’s and Pro Tax Service’s unauthorized use of the H&R BLOCK mark
to identify and promote tax preparation services, constitute false or misleading
statements concerning the affiliation, connection, or association of Griff and Pro Tax
Services with H&R Block, or the origin, sponsorship, or approval of Griff's and Pro
Tax Service’s services by H&R Block.

49. The actions of Griff and Pro Tax Services have deceived the intended
audience concerning the affiliation, connection, or association of Griff and Pro Tax
Services with H&R Block, or the origin, sponsorship, or approval of Griff’s and Pro
Tax Service’s services by H&R Block. Alternatively, the actions of Griff and Pro Tax
Services have the tendency to deceive a substantial portion of the intended audience
concerning the affiliation, connection, or association of Griff and Pro Tax Services with
H&R Block, or the origin, sponsorship, or approval of Griff’s and Pro Tax Service’s
services by H&R Block.

50.  Griff's and Pro Tax Service’s deception is material insofar as it is likely

to influence the purchasing decisions of the deceived consumers.

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51. The tax preparation materials provided by H&R Block to Griff and Pro
Tax Services traveled in interstate commerce.

52. The conduct of Griff and Pro Tax Services constitutes trademark
infringement in violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125(a).

53.  Griff’s and Pro Tax Service’s false advertising has caused and continues
to cause irreparable injury to the value and goodwill of H&R Block’s trademarks, as
well as irreparable injury to H&R Block’s business, goodwill, and reputation. H&R
Biock has no adequate remedy at law for this injury.

54. Griffs and Pro Tax Service’s continued false advertising is deliberate,
willful, fraudulent, and constitutes a knowing infringement of H&R Block’s trademarks.
H&R Block is entitled to disgorgement of Griff’s and Pro Tax Services’ profits, as well

as attorneys’ fees and costs incurred in this action, along with prejudgment interest.

CouNT IV — BREACH OF CONTRACT
(AGAINST GRIFF)

55. H&R Block incorporates in full the preceding paragraphs.

56. Griff entered into the Subfranchise Agreement with Nelson/BMWI.,

57. Griff and Nelson/BMWI intended the Subfranchise Agreement to be for
the direct benefit of H&R Block and, consequently, H&R Block is a third party

beneficiary of those contracts.
58. Alternatively, H&R Block succeeded to the post-termination rights of

Nelson/BMWI under the Subfranchise Agreement by reason of the Bill of Sale

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(Customer Lists, Etc.), attached as Exhibit 2, the Assignment and Conveyance, attached
as Exhibit 3, and the Assignment of Satellite Franchise Agreement, attached as Exhibit
4,

59. Griff has breached the Subfranchise Agreement’s covenant against
competition, as set forth in Paragraph 5 of the Subfranchise Agreement.

60. Griff has breached the Subfranchise Agreement’s covenant to refrain
from use of certain information, as set forth in Paragraph 5 of the Subfranchise
Agreement.

61. Griff’s breaches have caused and/or will cause HER Block injuries.

62. H&R Block’s injuries related to Griff’s breaches are not readily or fully
compensable by an award of money damages.

63. H&R Block is entitled to injunctive relief requiring Griff to return to
H&R Block the Proprietary Information and to refrain from competition for a period of

two years within 100 miles of the franchises in and surrounding Evanston, Wyoming.

CouNT V — UNJUST ENRICHMENT
(AGAINST GRIFF AND PRO TAX SERVICES)

64. H&R Block incorporates in full the preceding paragraphs.

65. Griff and Pro Tax Services have received and will receive substantial
benefits from the use of the Proprietary Information.

66. Griff and Pro Tax Services have been and will be unjustly enriched, at the

expense of H&R Block, by the use of the Proprietary Information.

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COUNT VI — CONVERSION
(AGAINST GRIFF AND PRO TAX SERVICES)

67. H&R Block incorporates in full the preceding paragraphs.

68. H&R Block has legal title to its Proprietary Information.

69. At all relevant times, H&R Block has had the right to possess its
Proprietary Information.

70. Griff and Pro Tax Services have exercised dominion over H&R Block’s
Proprietary Information in a manner that has denied H&R Block its right to use the
Proprietary Information for its economic benefit, or for the economic benefit of its
franchisees and subfranchisees.

71. In its December 4, 2003 letter attached as Exhibit 5, H&R Block
demanded that Griff return H&R Block’s Proprietary Information. Nevertheless, Griff
and Pro Tax Services have not returned H&R Block’s Proprietary Information.

72. The conversion of H&R Block’s Proprietary Information by Griff and Pro
Tax Services constitutes outrageous and/or willful and wanton misconduct, and Griff
and Pro Tax Services have wrongfully profited from their misconduct.

73. The economic benefit of the Proprietary Information is greatest for the
preparation of tax returns during the tax season (the months of January, February,
March, and April). During the tax season, Griff’s and Pro Tax Service’s access — and
H&R Block’s lack of access — to the Proprietary Information will cause injury to H&R

Block, which is not fully or readily compensable by an award of money damages,

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74, H&R Block is entitled to the remedy of injunction against Griff’s and Pro
Tax Service’s conversion of the Proprietary Information. In the alternative, H&R Block
is entitled to damages, including punitive damages, in addition to or in lieu of

injunctive relief.

COUNT VH — TORTIOUS INTERFERENCE WITH CONTRACT OR PROSPECTIVE

BUSINESS ADVANTAGE
(AGAINST GRIFF AND PRO TAX SERVICES)

75. H&R Block incorporates in full the preceding paragraphs.

76. H&R Block had a valid contractual relationship with the customers for
whom Griff, operating as a subfranchisee of H&R Block, previously provided tax-
related services. Alternatively, H&R Block had a valid expectancy that the customers
for whom Griff, operating as a subfranchisee of H&R Block, previously provided tax-
related services, would continue to obtain tax-related services from H&R Block, its
franchisees, and subfranchisees.

77, Griff and Pro Tax Services had knowledge of H&R Block’s valid
contractual relationships and/or H&R Block’s valid business expectancy.

78. Griff and Pro Tax Services have intentionally and improperly interfered
with H&R Block’s valid contractual relationships and/or its valid business expectancy
by causing H&R Block customers to obtain tax-related services from Griff and Pro Tax

Services

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79. Griffs and Pro Tax Service’s improper interference constitutes
outrageous and/or willful and wanton misconduct, and Griff and Pro Tax Services have
wrongfully profited from their misconduct.

80. The improper interference by Griff and Pro Tax Services has caused
and/or will cause H&R Block injuries.

81. H&R Block’s injuries related to Griff’s and Pro Tax Service’s improper
interference are not readily or fully compensable by an award of money damages.

82. H&R Block is entitled to the remedy of injunction against Griff’s and Pro
Tax Service’s actual and/or threatened improper interference. In the alternative, H&R
Block is entitled to damages, including punitive damages, in addition to or in lieu of

injunctive relief.

CouNT VITI —- COMMON LAW UNFAIR COMPETITION
(AGAINST GRIFF AND PRO TAX SERVICES)

83. H&R Block incorporates in full the preceding paragraphs.

84. H&R Block possesses numerous valid and protectable trademarks.

85.  Griff's and Pro Tax Service’s actions as described above, and specifically
Griff’s and Pro Tax Service’s unauthorized use of the H&R BLOCK mark to identify
and promote Pro Tax Service’s tax preparation services, is likely to cause confusion,
cause mistake, or deceive as to the affiliation, connection, or association of Griff and

Pro Tax Services with H&R Block, or as to the origin, sponsorship, or approval of

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Griff's and Pro Tax Service’s services by H&R Block. The conduct of Griff and Pro
Tax Services constitutes unfair competition.

86.  Griffs and Pro Tax Service’s unfair competition has caused and
continues to cause irreparable injury to the value and goodwill of H&R Block’s
trademarks, as well as irreparable injury to H&R Block’s business, goodwill, and
reputation. H&R Block has no adequate remedy at law for this injury.

87. The continued use of the H&R BLOCK trademarks by Griff and Pro Tax
Services is deliberate, willful, fraudulent, and constitutes a knowing infringement of
H&R Block’s trademarks. H&R Block is entitled to disgorgement of Griff’s and Pro
Tax Service’s profits, as well as attorneys’ fees and costs incurred in this action, along

with prejudgment interest.

COUNT [X — VIOLATION OF WYOMING CONSUMER PROTECTION ACT

Wyo. STAT. ANN. § 40-12-101 ET SEQ.
(AGAINST GRIFF AND PRO TAX SERVICES)

88. H&R Block incorporates in full the preceding paragraphs.

89. The actions of Griff and Pro Tax Services, as described above, and
specifically Griff's and Pro Tax Service’s unauthorized use of the H&R BLOCK mark
to identify and promote tax preparation services, constitute a deceptive trade practice
because it represents that Griff’s and Pro Tax Service’s tax services are affiliated,
connected, or associated with H&R Block, or are sponsored or approved by H&R

Block.

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90. H&R Block gave notice to Griff and Pro Tax Services of their unlawful
deceptive trade practice, and the damages that would continue to be suffered by H&R
Block if Griff’s and Pro Tax Service’s unlawful deceptive trade practices continued.

91. The deceptive trade practice of Griff and Pro Tax Services has caused
and/or will cause H&R Block injuries.

92. H&R Block’s injuries related to Griff’s and Pro Tax Service’s deceptive
trade practice are not readily or fully compensable by an award of money damages.

93. H&R Block is entitled to the remedy of injunction against the deceptive
trade practice of Griff and Pro Tax Services. In the alternative, H&R Block is entitled
to damages in addition to or in lieu of injunctive relief.

WHEREFORE, HRB Royalty, Inc. and H&R Block Tax Services request the
following relief:

(1) the entry of a temporary restraining order and a preliminary injunction that
Griff and Pro Tax Services:

(a) cease and refrain from the operation of any tax return preparation
business in competition with H&R Block or its authorized, legitimate franchisees in or
within 100 miles of the franchise area in and around Evanston, Wyoming for a two-year
period;

(b) deliver to H&R Block and refrain from using any originals or

copies, whether stored by hard copy or electronically, of the Proprietary Information;

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(c) assign all Yellow and White Page telephone numbers for H&R
BLOCK tax services for Evanston, Wyoming to H&R Block; and

(d) identify by name, address and telephone number all persons and
entities that may have received copies of any Proprietary Information, and provide such
persons with a copy of the Court’s order of injunction, directing them to deliver to H&R
Block the Proprietary Information pursuant to the Court’s order and refrain from further
use or dissemination of the Proprietary Information;

(2) Damages for Griff’s breach of contract, to the extent H&R Block’s damages
can be remedied by monetary relief;

(3) Damages for Griff’s and Pro Tax Service’s conversion and misappropriation
of trade secrets, unfair competition, violations of the Lanham Act, violation of the
Wyoming Consumer Protection Act, and tortious interference with contract or
prospective business advantage, to the extent H&R Block’s damages can be remedied
by monetary relief;

(4) Punitive damages;

(5) Reasonable attorneys’ fees and costs;

(6) Prejudgment interest; and

(7) Such other relief as deemed appropriate by the Court.

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Dated: February 340, 2004.

oN ahd fos.
Wal (Ci ndje I
"Bradley T. Cave, P.C.

Laura D. Windsor

HOLLAND & HART LLP

Post Office Box 1347

Cheyenne, Wyoming 82003

ATTORNEYS FOR PLAINTIFF
Plaintiffs” Addresses:

H&R Block Tax Services
4400 Main Street
Kansas City, MO 64111

HRB Royalty, Inc.

Suite 101

TK House

Bayside Executive Park

West Bay Street and Blake Road
P. QO. Box N-8220

Nassau, Bahamas

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FRANCHISE AGREEMENT

THIS AGREEMENT, is made and entered into by and between
Income Tax Service Inc, {a Wye, Corp,), hereinafter referred
to as "Franchisor", and Danny Griff ,
hereinafter referred to as "Franchisee", of

Kemmerer, Wyoming :

WHEREAS, Franchisor is engaged in the business of
granting franchises dealing exclusively with the preparation
of income tax returns and the performance of related
services; and

WHEREAS, Franchisor is the licensee of certain names
and service marks relating to said services which have a
well established reputation and good will which are of
unique benefit to Franchisor and its franchisees;

WHEREAS, said license is subject to a number of
restrictions upon the use of the licensed names and service
marks;

WHEREAS, Franchisee is desirous of obtaining a
franchise for the performance of the above-described
Services:

NOW, THEREFORE, in consideration of the mutual
covenants and agreements hereinafter set forth, the parties
hereto agree as follows:

1. Grant of Franchise and License.

(a) Franchisor hereby grants to Franchisee the
exclusive right to use the following names and service marks

in connection with Pranchisee's business of preparing income
 

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tax ceturns and performing related services within the

franchise tercitocy consisting of Evanston, Wyoming

(1) ‘“H&R BLOCK"?

(2) "THE INCOME TAX PEOPLE";

(3) “AMERICA's LARGEST TAX SERVICE";

(4) "BXECOTIVE TAX SERVICE"

(5) “NATION'S LARGEST TAX SERVICES’

(6) Any other mame or service mark that may
be acquired by Pranchisor or registered by Franchisor under
appropriate service mark or trademark registration laws for
use in the business of preparing tax returns and performing
related services. If for any reason Franchisor should be
denied the right to any trademark herein listed or later
acquired Franchisor retains and has total cight to replace
the trade name or mark with amother trademark on condition
it is a trade uniform with all Franchisees of Franchise.

(b) Notwithstanding any provision of this
Agreement to the contrary, nothing herein shall prohibit
Franchisee from performing services covered by this
Agreement within the franchise tercitory for any person or
firm residing outside the franchise territory, or from
advertising orc promoting Pranchisee's business in media
which may extend beyond the franchise territory.

(c) The term “related services" means those
products or services instituted, organized, sponsored or
promoted by Pranchisorc that deal with the preparation of

income tax retucns, such as income tax return preparation

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scheols or income tax study courses, income tax films,
Public Accounting oc Estate and Financial Planning, and
othec similar products Or services directly used in
Connection with the business of preparing income tax
returns. Activities not related to the preparation of tax
returns, Public Accounting and Estate and Pinancial Planning
Shall not be considered “related secvices" even though
conducted by Franchisor under one or more of the names and
macks set forth above.

2. Acceptance of Franchise and Manner of Use of Name.

(a) Franchisee hereby accepts the franchise
granted hereunder and agrees to operate its business of
Preparing tax returns and performing related services under

the names and marks referred to in paragraph 1. or names

= ‘

determined by Franchisor should the marks for any reason not
Cemain controlled by Franchisor.

(ob) Franchisee hereby agrees not to use any other
mMamesS or marks in the conduct of the business of the
franchise.

(c) Franchisee further agrees not to use, nor to
permit the use of, the licensed names or marks, or any
Substantially similar style or spelling thereof, for any
Purpose other than Income Tax Preparation operation of the
franchise without the express written permission of
Franchisor, This restriction includes, but is not limited
to, the formation of corporations, partnerships, business

associations, or any other form of business organization,
 

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3. Franchisor's Covenant Not to Compete.

(a) Franchisor hereby agrees not to compete with
Franchisee, directly or indirectly, in the preparation of
tax returns or the performance of related services within
the franchise territory during the term of this Agreement.

(b) Franchisor hereby agrees to grant no other
franchise for the preparation of .tax returns or the
performance of related services within the franchise
territory during the term of this Agreement.

(c) Any activities other than the preparation of
tax returns or the performance of related services performed
or conducted by Franchisor, or by any subsidiary, affiliate
or other franchisee thereof, shall not be subject to the
provisions of this paragraph, even though conducted under
one of the names or marks set forth above in paragraph l.

4. Franchisee's Conduct of Business.

(a) Franchisee shall prepare quality tax returns
to the best of his ability. Said returns shall be accurately
completed and thoroughly checked in accordance with federal,
State and local laws before they shall be returned to the
clients.

(b) Franchisee shall employ and train sufficient
personnel to accommodate all customers without undue delay.
In the event the Pranchisee should fail to train himself and
his employees to accurately prepare tax returns in any area
such as estate returns, corporate or partnership returns

then Franchisor shall have the right to prepare such returns
 

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in Pranchisee's territory at his discretion. Franchisor

shall pay Franchisee no less than 5% of the gross fee of the
tax return.

(c) Pranchisee shall maintain a neat and orderly
office.

(d) Franchisee shall maintain office hours during
the tax season from 9:00 a.m. until 9:00 p.m., Monday
through Friday and include at least the period beginning on
the last day on which individual federal income tax returns
must be filed (generally April 15). During the balance of
the year, Pranchisee shall maintain office hours at least
from 9:00 a.m. through 5:00 p.m., Monday through Friday,
unless otherwise approved in writing by Pranchisor.

(e) Pranchisee shall personally supervise the
franchise business for at least 40 hours per week year
round, with reasonable allowance for holidays and vacations.

{£) Franchisee shall manage and conduct’ the
business in reasonable accordance with the rules and
regulations set forth in the POLICY AND PROCEDURE MANUAL,
including all future amendments thereto, except as otherwise
provided in paragraph 5.

(g) Franchisee shall promptly pay all of its
operational expenses in order to establish and maintain
sound credit.

(h) Pranchisee shall refrain from those
activities relating to the advertising of its business and

the use of its customer lists which are set forth in the
 

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attached Schedule "A", which contains an excerpt from
Federal Trade Commissicn Decision and Order In the Matter of
H & R Block, Inc., a corporation, Docket No. C-2162.

5. Policy and Procedure Manual.

(a) Pranchisor has furnished to Pranchisee a copy
of the H&R BLOCK Policy & Procedure Manual, referred to as
the "Manual", which was issued by the Franchisor and of
which the Franchisee hereby acknowledges receipt. Franchisor
further covenants to furnish to Franchisee a copy of all
amendments to the Manual.

(b}) Franchisor expressly reserves the right to
amend the Manual whenever and in such manner as, in
Pranchisor's sole discretion and judgement, would be
reasonable and necessary to protect the quality of services
or increase the long-range net profit potential of
Pranchisor and its franchisees, collectively.

(c) No provision of the Manual shall be
considered mandatory unless a violation thereof shall, in
the sole discretion and judgement of Franchisor,
unreasonably impair the reputation, character or image of
the name or service marks set forth in paragraph 1, or the
quality of. the services rendered hereunder. All other
provisions of the Manual shall only be considered advisory
in nature.

(a) No violation by Pranchisee of any mandatory
provision of the Manual shall constitute a breach hereof, or

justify termination proceedings hereunder, unless};
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(1) Such violation is material and

Substantial; and
(2) Such violation will, in the sole
discretion and judgement of Franchisor, adversely affect the
long-range net profit potential of, or work any undue
hardship upon, the franchisees, individually or
collectively. |
6. Books and Receipts.

(a) Franchisee shall furnish te Franchisor copies
of receipts for all funds received from the preparation of
tax returns and the performance of related services within
the franchise territory during the term of the Agreement.
Such copies, together with a summary thereof, shall be sent
to Pranchisor semi~monthly.

(b) All books and records of Franchisee
Pertaining to Franchisee's gross receipts from the
Preparation of tax returns and the performance of related
Services shall be open to inspection by Franchisor and its
authorized representatives during regular business hours.

7. on- itio -Dj isee,

(a) During the term hereof, Franchisee will not
compete, directly or indirectly, whether as an owner,
stockholder, partner, officer, director or employee, with
Franchisor or any of its franchisees in the business of
Preparing tax returns or performing related services.

(b) Franchisee will not so compete within _l100 |

miles of any franchise territory for a period of _two years
 

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after the termination, transfer or other disposition of this

Agreement,

(c) During the term of this Agreement and for a
period of _two years thereafter, Pranchisee will do no
deliberate act prejudicial or injurious to the good will or
name of Franchisor.

(d) During the term of this Agreement and for a
Period of two years thereafter, Pranchisee will not
divulge to, or use for the benefit of, any person,
association or corporation outside of the Franchisor's
Organization, any information. or knowledge concerning
Customers, methods, promotion, advertising or any other
Systems or methods of operation of Pranchisor's business, or
that of Franchisor's franchisees, which Pranchisee may have
acquired by virtue of his operations under this Agreement.

(e) Franchisee shall furnish to its employees
only that information which shall be reasonably necessary to
the proper performance of their duties,

(f) Franchisee shall secure the written agreement
of all of its ‘employees, and any officers, directors or
Partners if Franchisee is a corporation or partnership, who
are informed or trained in Franchisor's unique’ methods of
Preparing tax returns, to not divulge or use their knowledge
of such methods in competition with Franchisor or any of its
franchisees, in the form and to the extent set forth in the
attached Schedule B. ‘he Franchisee shall secure such

agreement by obtaining the signature of each such person on
 

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a form supplied by Franchisor without cost to Franchisee,
and shall remit a signed copy of said form to Franchisor
immediately upon execution thereof, |

(g) This Agreement is entered into between the
parties hereto with the full knowledge of its nature and
extent, and the. Franchisee hereby acknowledges that the
qualifications for a franchise from Franchisor are Special,
unique and extraordinary, and that this Agreement would not
be entered into by Franchisor except upon condition that
such restrictive covenants be embodied herein, and as such
be enforceable by injunctive relief in the event of breach
by Franchisee,

8. Source of Supplies.

. (a) Franchisor hereby agrees to offer for sale at
fair, reasonable and competitive prices to Pranchisee,
certain office supplies, forms, advertising and display
materials, mats, machines, equipment and such‘other items as
may be necessary and proper for the conduct of the business
of income tax return preparation. Franchisor shall extend
credit to Franchisee for such purchases to the extent
Provided in paragraph 13(d).

(b) It is expressly agreed that Franchisee may
purchase any or all items needed from any source without
approval from Franchisor, provided that the quality of any
Such item is at least equal to, and the general appearance
thereof is similar to, the comparable item offered hereunder

by Pranchisorc.
 

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(c) Franchisor agrees to furnish F.O.VB. Place of

Mfg. or purchase point of Franchisor certain specialized
forms and supplies at no cost to Franchisee except freight,
at the option of the Franchisor an annual processing
machine allowance of 1% of the first 20,000.00 and 1/2 of 18
of all volume over that, where a Franchisee has any contract
added to his ist contract for royalty purposes netting a net
30% royalty, that volume is allowed only 1/2 of ls
allowance, .
9. Ss ctj d ist .
(a) Franchisor hereby agrees to provide
Franchisee with the following:

(2) Instruction in the operational details
of the income tax return business, or related Services.

(2) Advice im the selection and location of
an office,

(3) Information necessary to establish an
operating budget.

(4) Such promotion annd advertising ag
deemed advisable by Franchisor in his sole discretion and at
his sole expense,

(5) Assistance in managerial Problems which
may arise during the period of this Agreement.

(b} Franchisor hereby agrees to make training
material available in the matter of Preparing tax returns,
customer relations and procedures of Franchisor. Such

training is to take place in Salt Lake City, Utah, at a time

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designated by Franchisor.

(c) The parties hereto expressly agree that the
services described in this paragraph are optional, and that
the Franchisee is under no obligation to accept them.

10. Insurance.

(a) Franchisee hereby agrees to secure and
Maintain, at his expense, a policy of fire insurance,
written by a responsible insurance company authorized to do
business in the State of _Wyoming  , in an amount equal to
not less than the insurable value of any building, together
with any improvements thereon, which Franchisee leases or
for which Franchisee in any way becomes responsible, (Fire
Legal Liability on non-owned property)

- (b) Franchisee further agrees to secure and
maintain insurance in a reasonable amount, which has been
approved by Franchisor, for the purpose of carrying out the
indemnification provision of paragraph 1l(a) below.

il. nd ification. Franchisee hereby agrees to
indemnify and hold harmless Franchisor from any and all
liability, damage, expense, cause of action, suit, claim or
judgment arising from:

(a) Any injury to persons or property arising out
of any act, failure to act, or negligence of Franchisee, its
agents or employees; and

(b) Any alleged breach of the covenants of non-
competetion and non-disclosure, and any amendments thereto

Or substitutions therefor, which are binding upon Franchisor

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as licensee of the names and marks set forth above in
Paragraph 1, where such breach arises out of any act,
failure to act, or negligence of Franchisee, its agents or
employees, Said covenants as now exist are set forth in the
attached Schedule "C* which is by this reference made a part
hereof,

12. Royalties.

(a) Franchisee agrees to pay Franchisor, as
franchise royalty a sum equal to 60 percent of
Franchisee's gross receipts from the preparation of income |
tax returns and the performance of related services,
Franchisee further agrees to submit reports to Franchisor
(conformed by affidavit, if requested by Franchisor) of such
receipts as of the 15th and the last day of each month
within the five days after the end of each such reporting
period, Payment of such royalties shall be due within thirty
(30) days after the close of each reporting period;
provided, however, that if such payment is made within five
(5) days after a report period, and if all previous payments
have been made (unless a bona fide dispute has arisen as
provided in paragraph 15), a discount of ten (10) percentage
points from the established _§0 percent royalty shall be
allowed by Franchisor. (For example, for the first half of
January, if payment is remitted and postmarked by the U.S.
Postal Service by January 20, only $0 percent is due;

otherwise _60 must be paid by February 15). For any year in
which such gross receipts exceed $_5,000,00 the _60% fee

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12(a)

For as long as the owner of the Evanston, Wyoming franchise is the same
person as the owner of the Kememer, Wyoming franchise, the volume will

be combined for royalty purposes. Franchisee will pay all direct advertising
for Evanston, Wyoming.
 

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Shall be applicable only to the first $_5,000,00 , gross
receipts and the franchise fee on the excess shall be 403 ,
Subject to the discount provision hereinabove provided.

{b) Upon the happening of an "Event of Increase"*®
as defined below, the franchise royalty charged hereunder
Shall automatically increase to an amount equal to the
franchise royalty being offered by Franchisor at the time of
such event to prospective franchisees in territories
comparable with the franchise territory. In no event,
however, shall such royalty exceed 50 percent after
deduction of the allowed discount of _1Q_ percentage points
referred to above in paragraph 12(a). For purposes of this
Section Gross Receipts shall mean the total gross receipts
from customers for the preparation of all tax returns and
related services, from all offices, branches, divisions
Operating under authority of this franchise.

(c) An "Event of Increase" shall mean:

(1) The transfer, assignment, gift or other
disposition, by operation of law or otherwise, of the
Franchisee's rights under this Agreement to another (except
to the original individual Franchisee's spouse, or to a
corporation, partnership, trust Or other business
Organization or entity in which no one other than
Franchisee, his spouse, or any or both of them owns an
interest, or except to a controlled corporation or
controlled partnership as defined in paragraph 19(e) of this

Agreement, or, if Frnachisee is an individual, except to

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Franchisee's estate or legal representative upon
Franchisee's death); or

(2) If this £Eranchise is held by, or in the
Name of, a corporation, Partnership, trust or other
business organization or entity, the transfer, assignment,
gift or other disposition. of any interest or interests
therein, whether in one or more transactions, by which a
controlling interest in such entity is transferred to one or
mOre persons, corporations, partnerships, trusts or other
associations other than the original Franchisee hereunder
(unless such controlling interest is transferred to the
spouse of the original individual Franchisee hereunder).
13. Initial Deposit.

. (a) As security for Franchisee's faithful
performance of the terms of this. Agreement, Franchisee
hereby deposits with Franchisor, and Franchisor hereby
acknowledges receipt of, the sum of _Three hundred dollars

{$300.00)  —, as determined from the following schedule,

with the population figure determined as of the date of this

contract from the most recent Standard Rate and Data Service

figures:
FRANCHISE TERRITORY POPULATION DEPOSIT REQURIED
Less than 15,000 3 300.00
15,000 - 49,999 500.00
50,000 - 149,999 1,000.00
400,000 - 749,999 5,000.00
750,000 - 1,499,999 10,000.00
1,500,000 or more 20,000.00

(b) In the event that this Agreement replaces a

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Prior franchise agreement between the parties hereto,
covering the franchise territory, no deposit shall be
required of Franchisee in excess of the amount deposited
under said prior franchise agreement. Such prior deposit, if
any, shall satisfy the deposit required of Franchisee
hereunder, and shall be held by Franchisor subject to all of
the terms and conditions hereof.

(c) Any deposit required hereunder shall be held
by Franchisor without interest and may be comingled with
Franchisor's other funds. Said deposit shall be refunded to
Franchisee _3. years after the termination, sale, transfer
Or other disposition of this Agreement by Franchisee;
Provided, however, that upon the death of an individual
Franchisee, said deposit shall be refunded within thirty
(30) days following written notice to Franchisor that the
provisions of paragraph 18 herein have been complied with.
However, if the assignee of this Agreement is a controlled
corporation or a controlled partnership, or the spouse, or
any or all of them, of the Franchisee, then Franchisee's
deposit hereunder, if any, uvupon the transfer to said
assignee, shall be held by Franchisor in accordance to this
Paragraph in satisfaction of said assignee's obligation to
make the deposit required herein. In such event, Franchisee
Shall have no further interest in said deposit. If no
deposit was required hereunder of Franchisee, then no
deposit shall be required of said assignees.

(d) Franchisor agrees to extend credit to

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Franchisee with regard to the initial supplies purchased
annually after October 1 from Franchisor, thereby deferring
cash payment of the initial supplies order until the
following February 10. Such credit shall not exceed the
amount of Franchisee's deposit hereunder.

14. Term of Agreement. The term of this Agreement
Shall run for a period of five (5) years from the date
hereof, with further provisions that it shall be
automatically renewed for successive periods of five (5)
years each, unless mutually terminated Ox terminated
pursuant to paragraph 15.

15. Breach and Termination of Agreement.

(a) Any material and substantial breach of the
terms hereof by Franchisee shall constitute grounds for
termination of this Agreement and for Payment by Franchisor
to Franchisee or his assigns Pursuant to paragraph 16.

(b) Prior to such termination, Franchisor shall
give Franchisee written notice of the alleged breach by
certified or registered mail and Franchisee may, within
fifteen (15) days following the receipt of such notice,
except in the case of a breach for non-payment of the
franchise royalty, request arbitration of such alleged
breach pursuant to paragraph 23, if it has not already been
corrected. If Franchisee attempts to correct the alleged
breach within said fifteen (15) day period, and so notifies
Franchisor of such correction, Franchisor shall advise

Franchisee within seven (7) days thereafter, whether the

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alleged breach has been corrected. If such advice is in the

negative, the Franchisee shall have fifteen (15) days
thereafter to request arbitration, In the event that
Franchisee does not request arbitration within said period,
Franchisor may then terminate. this Agreement upon written
notice thereof to Franchisee.

(c) In the event of non-payment of the franchise
royalty provided herein for a period of fifteen (15) days
following receipt by Franchisee of notice of non-payment
from Franchisor, this Agreement may be cancelled and
terminated by Franchisor without arbitration and without
further notice; provided however, that this provision shall
not apply and arbitration shall be available hereunder if
there is a bona fide dispute as to the amount of the unpaid
franchise royalty and Franchisee pays any undisputed portion
thereof, or if there is a bona fide dispute as to whether or
not the franchise royalty has been paid. No such termination
Shail take place while such arbitration or any subsequent
court proceeding is pending.

(d) Except as to a breach for non-payment of the
franchise royalty as to which there is no bona fide dispute,
which breach Shall be governed as expressly set forth above,
a Franchisee may correct any breach, and thereby prevent
termination of this Agreement, within fifteen (15) days
after a determination by arbitration or subsequent court
Proceeding that a breach justifying termination has

occurred,

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a (e) Nothing eohta ined gle is oe 80 oon shall

preclude Franchisor from seeking such octher judicial
remedies as may be desired: provided, however, that
Franchisor shall first give to Franchisee fifteen (15) days
written notice of its intent to do so, during which fifteen

(1s) days Franchisee shall be entitled to request arbitration
pursuant to paragraph 23..

16. Payment to Franchisee Upon Termination.
fad In the event of the termination of this

Agreement for any reason other than sale to Franchisor, the
Franchisee shall sell, assign and deliver to Franchisor all

of the properties and assets of Frachisee's business operated
hereunder’ {including, without limitation, all equipment, customer
files, supplies of such business), and Franchisor shall pay

a fair and equitable price to the Franchisee for Franchisee's
business operated hereunder, (excluding any allowance for
Goodwill as that is deemed owned by the Franchisor in the name
and system and proceedures franchised), but no less than the
tetal of the following:

(1) Depreciated book value of all of
Franchisee's equipment, if same shail be free of all liens;
(2]a} Cost price, including frieght-in, less ~

any: amounts owed thereon, of all of Frachisee's usable supplies
on hand; (b) If the Franchisee feels to ask a orice of
any amount in excess Of {1) (2) , and if Frachisor does
not agree that there is value in excess of cost less depreci-

ation, then the Franchisor may request the

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item to arbitration persuant to Paragraph 23.

(3) All of Franchisee's normal, recurring,
Ordinary, and reasonable off-season (May 1 through December
31) expenses in excess of gross off-season revenues from the
May 1 immediately Preceding the date of purchase to the date
of purchase (such expenses including, but not limited to,
rent, wages, advertising, etc., but excluding Franchisee's
Salary, if any; and such revenues including, but not limited
to, tax return Preparation fees, tuition tax school
Payments, etc.) but only if the purchase by Franchisor is
Consumated during such off-season,

(b) Any franchise royalties due and ‘unpaid to
date of purchase shall be deducted from the purchase price
as determined above,

| (c) Leases on real and personal property may be
assumed by Franchisor if mutually agreeable between the
Parties hereto, and if Franchisor consents in writing to
assume payment of the rent and other liabilities thereunder
and save Franchisee harmless therefrom.
17. Ownership of Customer Lists.

{a} All customer lists, customer names, forms,
files and copies of tax returns in FPranchisee's custody
Shall be, and remain at all times, the property of
Franchisee; provided however, that in the event of
termination of this Agreement, and upon payment as required
by paragraph 16, such property rights of Franchisee thereto

Shall be transferred to and shall vest in Franchisor.

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Franchisee shall immediately thereafter deliver to
Franchisor all such customer lists, customer names, forms,
files and copies of tax returns.

(6b) Neither party shall have the right or
privilege to use the information appearing on file copies of
customer tax returns during the term of this Agreement;
provided however, that such information may be used solely
in the preparation of internal statistics or tax returns for
Subsequent years,

18. ca ity.

(a) Upon the death or incapacity of an
individual Franchisee, Franchisor shall be entitled to be
informed by Franchisee or is legal representative as to what
actions are being taken to prevent or minimize the
interruption of the services required or to be rendered
hereunder. Franchisor shall be further entitled, but not
required, to render whatever assistance is requested.
Franchisor shall be entitled to reimbursement by Franchisee
Or. Franchisee's estate for any reasonable expenditures thus
incurred if other than the normal services provided for in
paragraph 9.

{b) For puroses of this paragraph, "incapacity"
is defined as the inability of the Franchisee, according to
competent medical authority, to perform the duties and
obligations under this Agreement for six months or more as
the result of illness or accident.

{c) Death or incapacity shall not, of itself, be

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grounds for termination of this agreement unless:

(1) Franchisee or his legal representative
fails for a period 180 days after such death or incapacity
fo commence action to assign this Agreement as permitted by
paragraph 19; or

(2) Such Assignment is not completed within
one (1) year after such death or incapacity; provided
however, that any period of time during which an assignment
is subject to Franchisor's approval, and during which any
issue relative to a disapproval of any assignment is in
arbitration or is pending in a court of law, shall not be a
Part of such one (1) year as provided herein. If such action
Or assignment is not timely taken or made as aforesaid,
Franchisor shall have the right to terminate this Agreement,
subject to the terms of paragraphs 15 and 23.

19. Assignability.

(a) Franchisee's interest under this Agreement
may be transferred and asSigned by Franchisee, and
Franchisee's heirs, successors and assigns, to any person,
Partnership, or corporation; provided however, that no
Proposed transfer may be made without the prior written
consent of Franchisor, after such is requested by Franchisee
as hereinafter described,

(b) A request for approval of a proposed transfer
to other than a "controlled corporation" or "controlled
Partnership" as defined below shall include the effective

date of the proposed transfer, the name, address. and

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principal occupation or business activity of the proposed
transferee, and such other information (including financial
statement, business references, “and the like) that
Franchisor may reasonably request for the purpose of
approving or disapproving such proposed transferee,

(c) A request for approval of a proposed transfer
fo a controlled corporation or controlled partnership shall
include, in addition to the items set forth above, the name,
address and principal occupation of each officer and
director or each partner, as the case may be, of ‘such
corporation or partnership, together with the name, address,
Principal occupation and ownership interest of each
Stockholder holding 10% or more of any class of voting
Securities of such corporation, Franchisor shall thereafter
be given further written notice of any changes in the above-
required information, The request for transfer shall also
include the name and address of an individual hereinafter
referred to as the "principal", who shall:

(1) Be a director or partner of the proposed
transferee and who will personally assume and be bound by
all of the terms, covenants and conditions of this
Agreement; and

(2) Execute a document satisfactory to
Franchisor to that effect, to the end that Pranchisor may
look to such individual in addition to the proposed
transferee, for the proper performance of this Agreement.

The request for transfer shall also include such other

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information (including financial statements, business
references, and the like) that Franchisor may reasonably
request for the purpose of approving or disapproving such
transferee or principal. .

(d) Franchisor agrees that it will not
arbitrarily or unreasonably exercise its rights to approve
Or disapprove any proposed transferee or principal, and any
disapproval by Franchisor with respect to a proposed
transferee or principal shall be only for reasons which are
material and substantial in nature. In the event that a
proposed principal is the individual Franchisee under this
agreement, the Franchisee cannot be disapproved as the
principal or be subject to the approval or disapproval
provisions herein.

(e) For purposes of this Agreement, a "controlled
corporation" or "controlled partnership" shall be a
corporation or partnership in which Franchisee, Or
Franchisee's spouse, or any or both of them, directly or
indirectly, hold in the aggregate a majority (a majority
being over 50%) of each class of voting securities (if a
corporation) or the majority controlling interest (if a
Partnership). With respect to a corporation or partnership,
its voting securities or majority controlling interest, as
the case may be, shall be deemed held directly by Franchisee
if registered in any or all of their respective names alone
or jointly with another. They shall be deemed held

indirectly by said individuals if registered in the name of

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a broker, trustee, executor, administrator, or other nominee
for the benefit of said individuals or any of them.

(f) Transfer to either a controlled corporation
of controlled partnership of any interest in this Agreement
Shall not result in an increase in franchise royalties, and
additional deposit, or require a request for transSfer or
designation of a principal. Upon such a transfer, however,
Franchisee shall remain liable for the prompt and faithful
Performance of all terms, covenants and conditions of this
Agreement until a principal is appointed and approved by
Franchisor or this Agreement is transferred or assiqned to a
transferee approved by Franchisor,

(g} A proposed transfer shall be deemed approved
by Franchisor thirty (30) days after the receipt by
Franchisor of the request for approval unless Franchisor's
disapproval of the proposed transferee or, if applicable,
the principal thereof, is given within said thirty (30) day
Period in a writing setting forth the reasons for such
disapproval. In the event of disapproval, Franchisee may
submit an alternative transfer request to Franchisor within
Thirty (30) days after such disapproval, subject to all of
the foregoing conditions with respect to the initial request
for approval. Franchisee shall, in any event, have thirty
(30) days from the receipt of a notice of disapproval to
request arbitration pursuant to paragraph 23 of this
Agreement. In the absence of disapproval by Franchisor, or

upon approval by subsequent arbitration or court decision,

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of such proposed transferee or principal, such transferee or
Principal, as the case may be, Shall assume in writing all
of Franchisee's obligations hereunder and be entitled to all
benefits accruing thereto, and shall execute the document
required by subparagraph (c) above.
20. Change in Controlled Corporation or Partnership.
(a) If Franchisee is a controlled corporation or
a controlled partnership, Franchisee shall notify Franchisor
in writing within Sixty (60) days of the occurrence of any
of the following events:

(1) Termination of Franchisee's status as a
controlled corporation or controlled partnership at any time
during the term of this Agreement;

(2) The death of, or sale, transfer or other
complete disposition or termination of the interest in
Franchisee, direct or indirect, of any individual who is
then personally liable for the Prompt and  faith£ul
Performance of all of the terms, covenants and conditions of
this Agreement (e.g. the Original, individual Franchisee of
this Agreement who shall have assigned the Same to a
controlled corporation or partnership); or

(3) The death, during the term of this
Agreement, of any individual who is a principal of
Franchisee as required by paragraph 19.

{b) Said notice shall also include the name and
address of an individual who shall be a director or partner

of Franchisee, Satisfactory to Franchisor, and who will

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personally assume and be bound by all of the terms,
covenants and conditions of this Agreement, and who will
execute a document satisfactory to Franchisor to that
‘effect, to the end that Franchisor may look to such
individual, as "principal", in addition to Franchisee, for
the proper performance of this Agreement. If the proposed
principal is the individual Franchisee under this Agreement
or is Franchisee's spouse, such proposed principal cannot be
disapproved by Franchisor unless such proposed principal
shall be legally incompetent, shall not bea of legal age, or
shall at any time have been convicted of any crime involving
acts of moral turpitude.

21. Heirs, Successors and Assigns. This Agreement
shall be binding upon and inure to the benefit of the
parties hereto, their successors, assigns, heirs, executors,
administrators, and legal representatives, and Franchisee
Shall have and hold this franchise in peace and tranquility
so long as it timely performs and faithfully observes and
complies with all of the covenants, terms and conditions of
this Agreement incumbent upon it.

22. Loss of License by Franchisor. If for any reason
the rights .of Franchisor to the names and service marks set
forth in paragraph 1 should be terminated while this
Agreement is of full force and effect, this Agreement may be
cancelled, or may be continued in full force and effect
under other trade names at the sole election of Franchisoer

and without any payment pursuant to paragraph 16.

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' Franchisor's election under the’ paragraph shall be made by
Serving notice of the same upon Franchisee within thirty
(30) days of Franchisor's loss of the above-described
rights.

23. Arbitration.

{a} Every effort shall be made to settle amicably
any dispute between the parties arising out of or by reason
of this Agreement, or the construction or performance
thereof, In the event a mutual settlement or resolution of
any such dispute cannot be achieved within fifteen (15) days
after written notice by either party to the other requesting
arbitration (the “arbitration notice"), the dispute must be
Submitted for arbitration before any legal action by either
party may be commenced. The arbitration and award shall be
in accordance with the rules and regulations then obtaining
of the American Arbitration Association or any other rules
unanimously adopted by the arbitrators.

(Db) Each party shall appoint an arbitrator and
advise the other party of the choice. If either party fails
fo appoint an arbitrator within ten (10) days after
“notification of the appointment by the other party, the
person appointed as arbitrator may appoint an arbitrator to
represent the party in default. The two arbitrators
appointed in either manner shall then select a third
arbitrator, and should they be unable to agree on a third
arbitrator within 15 days after the date of the last to be

appointed then the American Arbitration Association, or any

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other Organization mutually © acceptable to the two
arbitrators, shall be requested to apppoint the third
arbitrator, Time is of the essence in these proceedings and
a decision of the arbitrators shall in all events be
rendered within 90 days after giving of the arbitration
notice, Additional time for the decision may be granted by
mutual’ consent of Franchisor and Franchisee, or upon request
of two of the three arbitrators, but in no event more than
90 days after the last day of the initial 90 days. If said
decision is not rendered within the time set forth herein,
the arbitration may be terminated by either party and either
Party may then proceed to have the matter resolved in a
court of law.

{c) Except as to a breach for non-payment of the
franchise royalty, where there is no bona fide dispute as
herein above provided in paragraph 15, the provisions
relating to arbitration shall be applied to any alleged
breach of this Agreement and any other disputes that may
arise from time to time, and all other rights and privileges
of the parties hereto under any other provisions of this
Agreement shall not be affected by any such arbitration
procedure. The arbitrators shall have no right to include or
decide issues not directly involved in any dispute before
them or attempt to change any of Franchisors policies or
covenants in this contract. The decision of the arbitrators
Shall be by a majority thereof. The expense of arbitration

Shall be borne equally by Franchisor and Franchisee. The

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arbitration shall be open to all interested parties, subject
to the rules of the arbitrators, and anyone shall give
information upon request of either party or the arbitrators.
The decision of the arbitrators Shall be legally binding
upon the parties thereto, unless such decision Would cause
either party to incur an expenditure, exclusive of costs of
arbitration, of more than $3,000.00, or unless such decision
Provides or gives either party grounds for the termination .
of the franchise herein granted. In such event the parties
hereby expressly stipulate that such decision, although not
binding, including a transcript of the record therein, or
any part therof, may be admitted into evidence without
objection in any litigation on the dispute between the
Parties hereto. The location of any arbitration proceeding
Shall be held in Salt Lake City, Utah, unless determined to

at another location and approved by Franchisor.

24. Non-Waiver of Breach. The failure of either party

hereto to enforce at any time or for any period of time any
One or more of the terms or conditions of this Agreement
Shall not be deemed a waiver of such terms or conditions or
of either party's rights thereafter to enforce each and
every term and condition of this Agreement.

25. Cancellation of prior Understandings. This
Agreement expresses fully the understanding by and between
the parties hereto. All prior understandings, or commitments
of any kind, oral or written, as to this franchise and any

matter covered by this Agreement are hereby superseded and

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cancelled, with no further liabilities or obligations of
the parties with respect thereto except as to any monies due
and unpaid between the parties to this Agreement at the time
of the execution of this Agreement.

26. Release of Prior Claims. By executing this
Agreement, Franchisee, individually and on behalf of
Pranchisee's heirs, legal representatives, successors and
assigns, and each assignee of this Agreement by accepting
assignment of the same, hereby forever releases and
dischacges Franchisor, its officers, directors, employees,
agents and servants, including Franchisor's subsidiary and
affiliated corporations, their respective offices,
directors, employees, agents and servants, from any and all
claims relating to or arising under any franchise agreement
Or agreements between the parties and executed prior to the
date of this Agreement, including but not limited to any and
all claims, whether presently known or unknown, suspected or
unsuspected.

27. Applicable Law. This Aqreement shall be construed
according to the laws of the State of Utah; provided,
however, no violation hereof shall be deemed a breach of
contract if occasioned by the laws or public policy (as
judicially decreed) of the state or local governing
authority of the franchise territory.

28. Severability. If any covenant or other provision
herein shall be determined to be invalid, illegal or

incapable of being enforced by reason of any rule or law or

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public ‘policy, all other conditions and provisions of this
Agreement shall nevertheless remain in full force and effect
and no covenant or provision of this Agreement shall be
deemed to be dependent upon any other unless so expressed
herein,

29. Parties not Joint Venturers, Partners, Agents,
The parties hereto are not and shall not be construed as
joint venturers, partners Or agents of each other, and
neither party shall have any power to bind or obligate the
other, and neither party shall be liable to any person
whomsoever for any debts incurred by the other. |

30, j t sence. As to all reports and
royalties, charges or other fees payable to or to be made to
Franchisor, time shall be of the essence.

3l. Notices. All notices required hereunder shall be
in writing and shall be deemed given and received upon
mailing, postage prepaid, via certified or registered mail,
to the addresses shown below or to such other address(es)
that may hereafter be designated by either party to the
other, and shall except as otherwise provided herein be

deemed to have been given as of the date so mailed,

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32. Attorney Pee. Except as otherwise provided in
Paragraphs 7{g) and 23(c), regarding the costs of injunctive
relief and arbitration, should either party default in any
of the covenants and terms hereof, the defaulting party
Shall pay all costs and expenses, including a reasonable
attorney's fee which may result from such default.

DATED this 6 day of _€ Vier , 19h
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“Président Mares =
By j lor Sol O/
Secretary City, State

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SCHEDULE "A"

Excerpt from Federal ‘Trade Commission Decision and
Order In the Matter of H & R Block, Inc., Respondent, a
corporation, Docket No. C2162, setting forth certain
prohibited activites from which H & R Block, Inc. was
ordered to refrain:

l. Using any guarantee without clearly and
conspicuously disclosing the terms, conditions and
limitations of any such guarantee; or misrepresenting, in
any manner, the terms and conditions of any guarantee.

2. Representating, directly or by implication, that
Respondent will reimburse its customers for any payments the
customer may be required to make in addition to his initial
tax payment, in instances where such additional payments
result from an error by Respondent in the preparation of the
tax return; provided, however, nothing herein shall prevent
truthful representations that Respondent will reimburse ita
customers for interest or penalty payments resulting from
Respondent's error.

3. Failing to disclose, clearly and conspicuously,
whenever Respondent makes any representation, directly or by
implication, as to its responsiblity for, or obligation
resulting from, errors attributable to Respondent in the
preparation of tax returns, that Respondent will not assume
the liability for additional taxes assessed against the
taxpayer.

4. Representing, directly or by implication, that
 

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respondent will provide legal representation to customers
whose tax returns may be audited; or misrepresenting, in any
Manner, the type or manner of assistance provided by
respondent to customers whose returns may be audited.

De Using any information concerning any customer of
respondent, including the mame and/or address of the
customer, obtained as a result of the preparation of the
Customer's tax return for any purpose which is not essential
. OF necessary to the preparation of said tax return, without
clearly and conspicuously disclosing to the customer, prior
to the obtaining of any information relative to the
preparation of the tax return, that respondent intends to
use the information for Purposes other than the preparation
o£ the customer's return, the exact information which will
be used, the particular use which will be made of such
information and a description of the parties or entities to
whom the information be made available; provided, however,
that nothing herein shall prohibit respondent from using
names and addresses only of customers for the purpose of
communication with such customers solely concerning
respondent's income tax preparation business.

6. Failing to provide each customer in instances
where the information described in paragraph 5 hereof will
be used for any purpose other than the preparation of the
tax return, with a form to be signed by the customer prior
to the obtaining of any such information clearly stating

that respondent intends to use the information for purposes
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other than the preparation of the return, the exact
information to be used, the Particular use to be made of
Such information, a description of the parties or entities
to whom the information will be made available, and a
Statement that the customer consents to the use of such

information.
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SCHEDULE *c"

Franchisor, as Licensee of the names and marks set

forth in the foregoing Agreement, has agreed with H & R
OR Block “Mt weet, ine:

Block, Inc. of Kansas City, Missour Lor M & V Nelson, Inc.,

a Utah corporation, substantially as follows:

(1) During the term hereof Licensee will not compete,
directly or indirectly, whether as an owner, stockholder,
partner, officer, director or employee, with Block or

ob. Lock Tt -wreh, iue-
Block's franchisees ,/} or M & V Nelson, Inc. in the business
of preparing tax returns or performing related services, and

(2) For a period of three years after the termination, .
or the transfer or other disposition of this franchise, he
will not so compete as aforesaid within 100 miles of the
licensed territory. Licensee further covenants that during
the term of this Agreement and for a term of three years
after the termination or the transfer or other disposition
of this license, he will not divulge to or use for the
benefit of any person, association or corporation outside of
the H & R Block organization, any information or knowledge
concerning customers, the methods, promotion, advertising or
any other systems or methods of operation of block's
business or that of Block's franchisees which Licensee may
have acquired by virtue of his operations under this
Agreement, nor will Licensee do any deliberate act
prejudicial or injurious to the good-will or name of block.

Information furnished to employees shall be reasonably

limited to that which directly relates to such employee's
 

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duties and assists in the proper performance of such duties,
This Agreement is entered into between the parties hereto
with the full knowledge of its nature and extent and agreed
to by the Licensee and the Licensee hereby acknowledges that
the qualifications for a franchise by Block or Franchisor
are special, unique and extraordinary, and that this
Agreement would not be entered into by block or Franchisor
except upon condition that such restrictive covenants be
embodied herein and as such be enforceable, in the event of
a breach by Licensee, by injunctive relief, provided that
the expenses of instituting such legal action by block or
Franchisor shall not be a Liability of Licensee unless ao

Ordered by court decision.
 

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as of , 198

H & R Block, Inc.

Professional Mana,ement Service Co.
848 So. 200 Fast

Salt Lake City, Utah 84111

Gentlemen:
Fe: oti oO sf to controlled

The undersigned franchisee hereby gives notice to you of the
transfer and assignment of a certain franchise agreement (s)
(identified in the attached Assignment Agreement) to the
entity described in said Assignment Agreement.

The undersigned franchisee acknowledges and agrees that,
notwithstanding such transfer and assignment, the
undersigned continues to remain liable for the prompt and
faithful performance of all terns, covenants and conditions
of said franchise agreement (s) as provided therein.

Very truly yours,

 
 

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ASSIGNMENT AGREEMENT

(for transfer to a controlled entity)

THIS AGREEMENT is made and entered into as of ,
, by (the “Franchisee") ana
(the "controlled entity"),

 

 

WITNESSETH:

WHEREAS, the Franchisee is holder of the right to
Prepare income tax returns under the name and service mark

"H & R Block" pursuant to the Franchise agreement(s)
described in Schedule A, which is attached to this Agreement
and constitutes a part of it Cthe "“agreement(s)"), and

WHEREAS, the Franchisee desires to transfer and assign
to the controlled entity all of the FPranchisee's right,
title and interest under the agreement(s) and the controlled
entity desires to accept such transfer and assignment and to
assume and be bound by all of the terms, covenants,
conditions and obligations incumbent upon the Franchisee
under the agreement(s) and

WHEREAS, the Franchisee recognizes that such transfer
and assignment may be made only upon compliance with certain
terms and conditions of the franchise agreement(s),

NOW THEREFORE, in consideration of the foregoing and
the mutual promises contained in this Agreement, the
parties, covenant, represent and agree as follows:

l, Assignment, The Franchisee hereby transfers,
assigns and delivers to the controlled entity all of the
Franchisee's right, title and interest in and to the

egreement(s) and any and all deposits held by the franchisor
under the agreement(s), in each case subject to all of the
terms, covenants, conditions and obligations incumbent upon
the Franchisee under the aqreement(s),

2. Acceptance, The controlled entity hereby
accepts such transfer, assignment and delivery of the
Franchisee's right, title and interest in and to the items
describded above and, for the benefit of the Franchisee and
the franchisor of the agreement(s), and the controlled
entity hereby assumes, and agrees to be bound by and to
faithfully perform, all of the terms, covenants, conditions
and obligations incumbent upon the Franchisee under the
agreement(s),

3. Compliance with Sateliite Agreement(s). In
compliance with the last paragraph of paragraph 16 of the
agreement(s), the Franchisee represents and warrants that
the Franchisee is the holder, directly or indirectly, of a
 

 

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Majority (over 503) of each class of voting securities of
the controlled entity, and that set forth On Schedule B
{which is attached to this Agreement and constitutes a part
of it) are the names and addresses of the officers,
Girectors and holders of 10% or more of each class of voting
Securities of the controlled entity. In further compliance
with said Daragraph 16 an executed copy of this Agreement is
being sent to, and the agreements, representations and
Warranties herein are thus made for the benefit of, the
franchisor under the agreement(s).

IN WITNESS WHEREOF, this Agreement has been executed by
the pariteés hereto as of the date first written above.

pao ML

"Franchisee"

 

by
"Controlled entity"
 

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SCHEDULE A

Major Franchise Agreement (s)

Date of Agreement

Franchise Territory
 

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SCHEDULE B

off
: ieers, Directors and Stockholders

Prof
essional Mangement Services Co

Address Title
 

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FILL OF SALE ™
(Cusiomer Lists, Etc.)

KNOW ALL MEN BY THESE PRESENTS: -

~ THAT Block Mountain West, Inc, H&R Block of Idaho, Inc., H&R Block of Utah, Inc.,
Income Tax Services, Inc., and Block Management, Inc. (Collectively “Seller”), for and in

_ consideration of the payment made September 22, 2003 by H&R Block “EREth Tax Services, ©

Inc. (“Buyer”) to Seller, and such further payments by Buyer to Seller as may come due in the
future, and other good and valuable considerations, the receipt of which is hereby acknowledged,
does hereby bargain, sell, grant, convey, assign, transfer and deliver unto Buyer, its successors
and assigns forever all customer lists, customer names, forms, files and copies of tax retums in
the custody of Seller or obtained in operating its businesses as a tax preparer under any and all of
the Major Franchise Agreements between Seller and HRB Royalty, Inc. or any affiliate thereof,
free and clear of all liens, mortgages, claims and encumbrances.

Seller hereby warrants and represents that it has good and marketable title to all of the
property and assets to be transferred hereunder.

Except for the foregoing, Buyer acknowledges that the transfer is made without
representation or warranty (express or implied) by Seller. The Assets are being transferred “AS
IS.” Buyer acknowledges it has made its own due diligence with respect to the Assets being
acquired and the employees of Seller being hired, and Buyer is not relying on any representation
or warranty of Seller.

TO HAVE AND TO HOLD the same unto the said H&R Block Eastern Tax Services,
Inc. and unto its successors and assigns forever.

IN WITNESS WHEREOF, this instrument is signed on the / / day of Seg af , 2003.

BLOCK MOUNTAIN WEST, INC., H&R BLOCK OF IDAHO, INC., H&R BLOCK OF
UTAH, INC., INCOME TAX SERVICES INC., AND BLOCK MANAGEMENT, INC.

By: | PYLE eden
 

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BILL OF SALE, ASSIGNMENT AND CONVEYANCE

THIS BILL OF SALE, ASSIGNMENT AND CONVEYANCE is made as of the 22"4 day .
of September, 2003 (the “Effective Date”), by and among Block Mountain West, Inc., H&R
Block of Idaéke, Inc. H&R Block of Utah, Inc., Income Tax Services, Inc., and Block’
Management; Inc. (collectively “Assignor” or “Seller”) having an address of 380 E. Main Street,

Building B, Midway, Utah 84049 and H&R Block Eastern Tax Services, Inc. (“Buyer’’) having a

notice address of 4400 Main Street, Kansas City, Missouri 64111.
WITNESSETH:

WHEREAS, the Seller desires to sell, and the Buyer desires to purchase, certain assets of
the Seller pursuant to the terms and conditions set forth herein.

NOW, THEREFORE, the parties hereto agree as follows:

l. The Seller, for and in consideration of the September 22, 2603 payment by Buyer
to Seller and such further payments by Buyer to Seller as may become due in the future, does, as
of the Effective Date, grant, bargain, sell, convey, assign, transfer, set over and deliver unto the
Buyer, all right, title and interest of the Seller in and to all of the assets, properties, interests and
rights of the Seller which are specificatly set forth on Schedule A attached hereto and made a
part hereof (collectively, the “Assets”.

2. Seller acknowledges that this Bill of Sale, Assignment and Conveyance is limited
to the Assets hereinafter specifically set forth, and it is the intention of the parties that Buyer shall
not assume any liabilities of the Seller.

3. Seller represents that it has full and complete title and ownership of said Assets,
has the right and authority (o transfer said Assets to Buyer, and that such Assets will be
transferred to the Buyer on the Effective Date free and clear of liens, security interests. debts or
other encumbrances.

4. The Seller further represents that it will at any time and froin time to time after the
Effective Date, upon the request of the Buyer, execute, acknowledge. deliver and perform, or
cause 10 be executed, delivered, or performed, all such further acts, deeds, assignments, transfers,
conveyances, powers of attorney and assurances as may be required for the better vesting and
confinning unto the Buyer of the title to and possession of any and all of the Assets acquired by
the Buyer from the Seller hereunder.

5. Except for the foregoing, Buyer acknowledges that the transfer is made without
representation or warranty (express or implied) by Seller. The Assets are being transferred “AS
1S.” Buyer acknowledges it has made its own due diligence with respect to the Assets being
acquired and the employees of Seller being hired, and Buyer is not relying on any representation
or warranty of Seiler.
 

 

 

6. Seller acknowledges that the September 22, 2003 payment by Buyer to Seller,
referred to in Section | hereof, does not jeopardize Buyer's rights to verify the numbers supphed
by Seller, which Buyer relied upon to calculate the amount of the payment, and make
adjustments to the payment based on such verification process. Buyer acknowledges that the
September :22, 2003 payment by Buyer to Seller, referred to in Section 1 hereof, does not
jeopardize Seller’s rights to claim and receive payment for the fair and equitable value of the
business of Seller being transferred to Buyer pursuant to Paragraph 24 of the Major Franchise
Agreements between Seller and Block, and the Order of the Circuit Court of Jackson County,
Missouri, in Case No. 99 CV 206379 dated June 3, 2003.

7. Upon request, Buyer agrees to provide to Seller after the Effective Date copies of
all documents, records, and information assigned pursuant hereto upon reasonable notice
provided such requests are for legitimate business purposes of Seller. Upon request, Seller
agrees to provide to Buyer after the Effective Date copies of Seller's documents, records, and
information that relate to the business operated under the above-referenced Major Franchise
Agreements upon reasonable notice, provided such requests are for legitimate business purposes
of Buyer.

8. The parties acknowledge that the amount included in the September 22, 2003
payment 1s an estimate, and the parties agree that the September 22, 2003 payment shall be
adjusted, up or down, after the date hereof as final information becomes available.

IN WITNESS WHEREOF, the Seller has executed this Bill of Sale, Assignment and
Conveyance as of the date first wntten.

SELLER:

BLOCK MOUNTAIN WEST, INC., H&eR
BLOCK OF IDAHO, INC., H&R BLOCK
OF UTAH, INC, INCOME TAX
SERVICES, INC. AND BLOCK
MANAGEMENT, INC.

By: DY Lid YO Ye Ly C

BUYER:

H&R BLOCK EASTERN TAX
SERVICES, INC.
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By: / file
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SCHEDULE A

List of Assets

All real estate lease agreements to which to the Seller is a party and which relate
primarily or exclusively to Selier’s operation of an income tax preparation (and
related services) business (the “Business”).

All general, financial and personnel records, ledgers, sales invoices, accounts and
payable records, files, forms, books, documents, correspondence, client tax returns,
customer lists, employee lists (including addresses), sales records, FranTap data, TTS
mailing lists and other files and records, including electronic versions of any of the
foregoing, of Seller pertaining primarily or exclusively to Seller’s operation of the
Business.

All tangible property used by Seller primarily or exclusively with respect to Seller’s
operation of the Business, including, but not limited to all supplies, equipment,
inventory and office keys.

All intellectual property used by Seller primarily or exclusively with respect to
Seller’s operation of the Business.

All tax professional employment agreements to which Seller is a party for the past
two (2) tax seasons.

All rights Seller has to obtain all client files, client lists and other client data related to
the operations of Seller’s subfranchises, to the extent Seller has rights in such data,
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ASSIGNMENT OF SATELLITE

FRANCHISE AGREEMENT mE.

FOR VALUE RECEIVED, Income Tax Service, Inc. for good and valuable consideration, -
does hereby sell, assign, and transfer to H&R Block Eastern Tax Services, Inc. all rights of the
Assignor and delegates to such Assignee all of the duties of the Assignor under a certain Satellite ~
Franchise Agreement, dated October 6, 1982, between the Assignor and Danny Griff, a true copy

of which is annexed hereto and made a part hereof.

IN WITNESS WHEREOF, this instrument is signed on the L7. day of Se cot , 2003.

ASSIGNOR:

INCOME TAX SERVICE, INC.
 

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H&R BLOCK tax and financial services

 

Steven A. Christiansen

Vice President December 4, 2003
Corporate Counsel & Secretary

CERTIFIED MAIL

RETURN RECEIPT REQUESTED

Mr. Danny Griff
62 McGovern Avenue
Diamondville, Wyoming 83116

Dear Mr. Griff:

In September 2003, H&R Block’s major franchise agreements with the Nelsen
organization (“Nelsen”) expired due to non-renewal. As a result, Nelsen no longer has the right
to operate an income tax service under the H&R Block name.

You have subfranchise agreements with Nelsen by which Nelsen granted you the right to
operate an H&R Block income tax service in Evanston, Wyoming, Kemmerer, Wyoming, and
Urie, Wyoming, under one or more of Nelsen’s major franchise agreements. While Nelsen has
assigned to H&R Block certain assets of its former H&R Block business, H&R Block has made
it clear to counsel for Nelsen that H&R Block has no obligation to, and will not, acquire or
assume any obligation of “franchisor” under any of Nelsen’s subfranchise agreements. Asa
result, your subfranchise agreements have expired by operation of law upon the expiration of
Nelsen’s underlying major franchise agreements, and we have no obligation to you under your
subfranchise agreements, including, without limitation, any obligation to make any payment to
you which Nelsen may have agreed to make upon termination of your subfranchise agreements.

H&R Block has offered you the opportunity to enter into a direct franchise agreement
with H&R Block under its current form of franchise agreement that was tendered to you. You
did not accept that offer and the time for your acceptance has expired. We understand that you
have made plans to continue to operate an income tax service in your former H&R Block
territories and that, among other things, you have retained the customer files and phone number
used for your former H&R Block business which we anticipate that you intend to use for a
competing tax service.

Your subfranchise agreements with Nelsen contain a provision that requires you, upon
termination of such agreements, to transfer to Nelsen the customer lists and files for the business
of the franchise. Such provision may refer to receipt of a payment from Nelsen. However, it
appears that Nelsen’s payment obligation, if any, does not apply in the event Nelsen’s right to use
the H&R Block name is terminated. Nelsen’s assignment of assets to H&R Block includes,

4400 Main Street Kansas City MO 64741
Tel 816 932 8452 Fax 8167530037 schristiamsen@hrblock.com www-.hrbleck.com
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Mr. Danny Griff
December 4, 2003
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without limitation, all of Nelsen’s night to obtain client files and client lists related to the
operation of Nelsen’s subfranchises. Therefore, we have a right to enforce the post-termination
rights of Nelsen with respect to the customer files and demand that you immediately deliver to us
the customer lists and customer tax returns of your former H&R Block business. We will
maintain the confidentiality of such files, which will be used solely to provide tax-related
services to the H&R Block customers to whom the files relate. We also demand that you comply
with such other post-termination obligations of your subfranchise agreements with respect to
competing with the Franchisor under such agreements.

As a result of the expiration of your subfranchise agreements, you no longer have the
right to continue using the H&R Block name. We understand that the phone number used by you
for your former H&R Block business is listed in the phone directory under the H&R Block name
and such use, if continued, is prohibited by the subfranchise agreements and constitutes
trademark infringement. Therefore, we demand that you discontinue the use of such phone
number and assign such number to us immediately. We also demand that you discontinue using
and surrender to us immediately any H&R Block signs and other marketing materials bearing the
H&R Block name. Provide us with your written assurance that any H&R Block signs for your
former H&R Block business can no longer be seen by the public.

You may have received through Nelsen H&R Block training materials and software used
for preparing tax returns and keeping track of the financial results of your former H&R Block
business. The software and training materials are proprietary to H&R Block and bear the H&R
Block name. Therefore, we demand that you cease and desist from using such software and
training materials and that you immediately surrender to us such materials and software,
including any copies thereof.

Please respond to this letter within ten days from its date to make arrangements for
complying with the demands set forth above. You may contact me at 81 6-932-8492 or Doug
French, our franchise district manager, at 307-632-4724. We reserve the right to take further
action in the event we do not receive a satisfactory response.

Sincerely,

a,

Steven A. Christiansen

SAC/sw

c: Ken Treat
Bruce Johansson (via email)
John Greenway (via email)
Doug French (via email)
Georgene Rowland (via emai!)
